Case 4:23-cr-00264-GKF Document 18 Filed in USDC ND/OK on 09/21/23 Page 1 of 1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff, Case No.: 23-cr-00264-GKF-1

VS. Date: Q 9/21/2023 a\

Court Time:(: 00 toQ *

ON Mie
Daniel Lawrence Charba, MINUTE SHEET ARRAIGNMENT and/or CHANGE
Defendant(s). of PLEA
Mark T. Steele, U.S. Magistrate Judge L. Lewis, Deputy Clerk Courtroom 5
Counsel for Plaintiff: | Nathan Edward Michel
Counsel for Defendant: Allen M Smallwood , Ret.
Probation Officer:
Age of Defendant: 32 Interpreter: CJ sworn
Defendant appears in person: My with Counsel; O Counsel waived; C1 w/o Counsel; Defendant: N svom
Sy beendan Consents to Magistrate conducting Guilty Plea Hearing

Defendant’s name as reflected in the Indictment;

DyVerified in open court as the true and correct legal name
C Corrected by interlineation to

to reflect Defendant’s true and correct legal name and all previous filings are amended by interlineation to reflect same.
C Unable to verify in open court as the true and correct legal name: LJ U.S. Atty; UL Deft’s Atty to verify, advise court
CL] Defendant acknowledges receipt of Indictment
(1 Defendant enters not guilty plea as to Count(s)__—_soof the Indictment C1 Schedule to be entered
Defendant waives: Indictment; x Jury Trial; © Speedy Trial; Ss Days Preparation; LJ Separate Representation
xe Waivers approved by Court;
Defendant advised of: charge and [ arraigned; Indictment: LJ Read LI Reading waived
Sy Defendant relates fact of charge
Xf Defendant withdraws not guilty plea(s) as to Count(s) _2_ of the Indictment
Defendant enters guilty plea to as to Count(s) _2_ of the Indictment

ei Remaining Count(s) to be dismissed at sentencing: _count 1 of Indictment
def Petition to enter plea of Guilty sworn and executed
L] Findings re: Plea Agreement made; BF indings re: Plea agreement reserved

3d Defendant adjudged guilty as charged as to as to Count(s) _2_ of the Indictment
AD Petition Sand Plea Agreement disclosed in open Court and will be filed of record x PSI ordered
CJ SENTENCING SET at 8:00 a.m.

SENTENCING to be scheduled upon completion of PSI
Defendant allowed to stand on present bond; (J Government stipulates, findings made

C] Defendant remanded to custody of U.S. Marshal
Additional Minutes:

Arraignment Change of Plea Magistrate Judge (11/2021)
